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Attorney for Defendant
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

SANAM ELYASSI,                         CIVIL NO. 12-00356 BMK

                 Plaintiff,            CERTIFICATE OF SERVICE

     vs.                               [RE: DEFENDANT UNITED STATES
                                       OF AMERICA’S NOTICE OF TAKING
UNITED STATES OF AMERICA,              DEPOSITION UPON ORAL
                                       EXAMINATION]
                 Defendant.




                        CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that, on May 20, 2013, and by the method

of service noted below, a true and correct copy of Defendant

United States of America’s Notice of Taking Deposition Upon Oral

Examination re: SANAM ELYASSI was served on the following at

their last known address:
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    Served via First Class Mail:

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    Attorney for Plaintiff
    SANAM ELYASSI

    DATED:   May 21, 2013, at Honolulu, Hawaii.

                                       FLORENCE T. NAKAKUNI
                                       United States Attorney
                                       District of Hawaii


                                            /s/ Harry Yee
                                       By___________________________
                                         HARRY YEE
                                         Assistant U.S. Attorney

                                       Attorneys for Defendant
                                       UNITED STATES OF AMERICA




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